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 1 KATHERINE HART #76715
   Attorney at Law
 2 2055 San Joaquin
   Fresno, Ca. 93721
 3 Telephone: (559) 256-9800
   Facsimile: (559) 256-9798
 4
     Attorney for Defendant
 5   LOUISE BOOTH
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )       1:09-CR-00142 LJO
                                           )
12         Plaintiff,                      )       STIPULATION TO
                                           )       RECOMMEND RELEASE
13                                         )       OF DEFENDANT FROM
                                           )       PRETRIAL SERVICES
14         v.                              )       SUPERVISION, AND
                                           )       ORDER REQUESTING SAME
15                                         )
                                           )
16                                         )
     LOUISE BOOTH et al.                   )
17                                         )
           Defendants.                     )
18                                         )
19
           IT IS HEREBY STIPULATED BETWEEN COUNSEL FOR THE
20
     GOVERNMENT AND COUNSEL FOR DEFENDANT AS FOLLOWS:
21
           That Pretrial Services, through their Pretrial Services Officer DAN STARK,
22
     has recommended that defendant LOUISE BOOTH is a good candidate for release
23
     from pretrial services supervision in light of her low risk, stability under
24
     supervision so far, and upcoming dismissal of charges against ;
25
           That the case against LOUISE BOOTH will be dismissed at the time of her
26
     husband’s sentencing on March 11, 2011;
27
28                                             1
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 1            That the Office of the United States Attorney and the defendant, through
 2   counsel, agree that this is an appropriate case for termination of Pretrial Services
 3   Supervision;
 4            That the statutorily mandated conditions of release, including the provision
 5   that defendant LOUISE BOOTH obey all laws, shall remain in full force and effect.
 6
 7   DATED: November 29, 2010                 /k/Katherine Hart
                                              KATHERINE HART, Attorney for
 8                                            LOUISE BOOTH
 9
     DATED: November 29, 2010                 /Mark Cullers
10                                            MARK CULLERS, Chief, Fresno Office,
                                              OFFICE OF THE UNITED STATES
11                                            ATTORNEY
12                                          ORDER
13            GOOD CAUSE APPEARING, it is hereby ordered as follows:
14            That the Office of Pretrial Services is hereby ordered to release defendant
15   LOUISE BOOTH from Pretrial Services Supervision, in light of her compliance
16   with Pretrial Services Supervision and in light of the expected dismissal of criminal
17   charges against her at the time of codefendant STEVEN BOOTH’s sentencing,
18   now set for March 11, 2010;
19            That LOUISE BOOTH is ordered to continue to comply with all statutorily
20   mandated conditions of Pretrial Release, including the provision that she obey all
21   laws.
22   IT IS SO ORDERED.
23
24   Dated:    December 1, 2010                 /s/ Sandra M. Snyder
25                                      UNITED STATES MAGISTRATE JUDGE
26
27
28                                              2
